   Case:
Case     22-1486    Document:
     1:20-cv-03924-JAR        18 42
                        Document  Page: 1 06/07/23
                                     Filed Filed: 06/07/2023
                                                     Page 1 of 2




              NOTE: This order is nonprecedential.


       United States Court of Appeals
           for the Federal Circuit
                     ______________________

      DEACERO S.A.P.I. DE C.V., DEACERO USA, INC.,
                  Plaintiffs-Appellants

                                v.

         UNITED STATES, REBAR TRADE ACTION
                     COALITION,
                  Defendants-Appellees
                 ______________________

                           2022-1486
                     ______________________

        Appeal from the United States Court of International
    Trade in No. 1:20-cv-03924-JAR, Senior Judge Jane A. Re-
    stani.
                     ______________________

                         ON MOTION
                     ______________________

                           ORDER
        Upon consideration of the parties’ joint status report,
    ECF No. 16, and Deacero S.A.P.I. de C.V. and Deacero
    USA, Inc.’s consented to motion to voluntarily dismiss this
    appeal pursuant to Rule 42(b) of the Federal Rules of Ap-
    pellate Procedure, ECF No. 17,
   Case:
Case     22-1486    Document:
     1:20-cv-03924-JAR        18 42
                        Document  Page: 2 06/07/23
                                     Filed Filed: 06/07/2023
                                                     Page 2 of 2




    2                               DEACERO S.A.P.I. DE C.V.   v. US



        IT IS ORDERED THAT:
        (1) ECF No. 17 is granted. The appeal is dismissed.
        (2) Each side shall bear its own costs.
                                          FOR THE COURT

    June 7, 2023                          /s/ Jarrett B. Perlow
       Date                               Jarrett B. Perlow
                                          Acting Clerk of Court
    ISSUED AS A MANDATE: June 7, 2023
